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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 LYNK LABS, INC.,

           Plaintiff,
                                                  Civil Action No.
 v.                                               1:21-cv-05021-VMC

 HOME DEPOT USA, INC., THE
 HOME DEPOT, INC., and HOME
 DEPOT PRODUCT AUTHORITY,
 LLC,

           Defendants.

                                      ORDER

       This patent infringement case is before the Court on the Parties’ Joint Status

Report. (Doc. 94). On January 29, 2021, Plaintiff Lynk Labs, Inc. (“Plaintiff”) filed

an action in the United States District Court for the Western District of Texas

against Defendants alleging that Home Depot sells lighting products that infringe

on the eight patents, (Doc. 1) and on March 17, 2021, Plaintiff filed an Amended

Complaint, asserting additional claims of infringement based on a ninth patent.

(Doc. 17). On March 31, 2022, the Court (Cohen, J.) stayed this case pending inter

partes review under 35 U.S.C. § 311 (“IPR”) and post-grant review under 35 U.S.C.

§ 321 (“PGR”). (Doc. 85). The Parties report that the process is complete and the

following outcomes are reported with regard to the asserted claims of the patents-

in-suit:
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 Patent                                           Invalidated Claims

 U.S. Patent No. 10,492,251 (the “’251 Patent”)   All Asserted

 U.S. Patent No. 10,757,783 (the “’783 Patent”)   All Asserted

 U.S. Patent No. 10,091,842 (the “’842 Patent”)   All Asserted

 U.S. Patent No. 10,537,001 (the “’001 Patent”)   All Asserted

 U.S. Patent No. 10,349,479 (the “’479 Patent”)   All Asserted

 U.S. Patent No. 10,652,979 (the “’979 Patent”)   All Asserted all but claim 13

 U.S. Patent No. 10,154,551 (the “’551 Patent”)   All Asserted

 U.S. Patent No. 10,517,149 (the “’149 Patent”)   All Asserted

 U.S. Patent No. 10,932,341 (the “‘341 Patent”)   All Asserted


      Plaintiff does not propose moving forward with any claims from the ‘979

Patent. (Doc. 94 at 4 n.2). Accordingly, all asserted claims are disposed of and the

case appears ripe for summary disposition. However, Plaintiff seeks to amend its

LPR 4.1 infringement contentions to withdraw all previously asserted claims and

substitute new claims that were not the subject of IPR and PGR. LPR 4.1, NDGa.

      Under LPR 4.5, which governs supplementing or amending contentions,

Plaintiff’s infringement contents “have such binding effect on a party as a response

to an interrogatory under Rule 33 of the Federal Rules of Civil Procedure” and”

shall be supplemented or amended pursuant to the rules for supplementation and


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amendment of discovery responses generally provided for under the Federal

Rules of Civil Procedure.” LPR 4.5(a)–(b), NDGa. In turn, Federal Rule of Civil

Procedure 26(e) provides that “[a] party . . . who has responded to an interrogatory

. . . must supplement or correct its disclosure or response . . . in a timely manner

if the party learns that in some material respect the disclosure or response is

incomplete or incorrect.” Fed. R. Civ.P. 26(e)(1)(A) (emphasis added).

      Courts frequently hold that a supplement to an earlier discovery request is

not made in a “timely manner” if made after the close of discovery. See, e.g., Rigby

v. Philip Morris USA Inc., 717 F. App’x 834, 835 (11th Cir. 2017). However, “FRCP

26(e)(1)(A) does not define ‘in a timely manner,’ implying that timeliness

‘depend[s] on the facts and circumstances of each case.’” L.A. v. Riverside Mil. Acad.

Found., Inc., No. 2:18-CV-00215-RWS, 2021 WL 8998914, at *3 (N.D. Ga. Sept. 30,

2021) (quoting U.S. ex rel. Fry v. Guidant Corp., No. 3:03–0842, 2009 WL 3103836, at

*4 (M.D. Tenn. Sept. 24, 2009)). “In any circumstance, parties should supplement

disclosures and responses ‘in a fashion that will allow [the opposing party] to

conduct meaningful discovery and avoid undue delay in the progress of [the]

case.’” Id. (quoting Fry, 2009 WL 3103836, at *4). Courts also look to when the

disclosing party reasonably should have known its responses were incomplete.

Jama v. City & Cty. of Denver, 304 F.R.D. 289, 299–300 (D. Colo. 2014) (“The

obligation to supplement arises when the disclosing party reasonably should

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know that its prior discovery responses are incomplete, e.g. because the party has

now obtained information it did not previously have.”).

      Here, under any standard, Plaintiff’s proposed supplemental disclosure is

not timely considering the extensive, five-year litigation history of this case.

Accordingly, the proposed supplement would be untimely under Federal Rule of

Civil Procedure 26(e) and exclusion would thus be mandated under Federal Rule

of Civil Procedure 37(c).1 As exclusion of the proposed claims resolves all pending

matters before the Court, it appears summary judgment is warranted.

Accordingly, it is

      ORDERED that Plaintiff is DIRECTED to SHOW CAUSE in writing 14

days after the date of entry of this Order, why summary judgment should not be

granted for Defendants under Federal Rule of Civil Procedure 56(f)(3). Defendants

may file a reply within 14 days of being served with Plaintiff’s response to this

Order.

      SO ORDERED this 29th day of May, 2025.

                                              _______________________________
                                              Victoria Marie Calvert
                                              United States District Judge

1 While the Court has held in other cases that exclusion is not automatic under that

Rule, Epic Tech, LLC v. Pen-Tech Assocs., Inc., No. 1:20-CV-02428-VMC, 2025 WL
1077359, at *2 (N.D. Ga. Mar. 7, 2025), Plaintiff provides no possible justification to
support its late supplementation other than differences in the Local Rules of this
Court and the Western District of Texas. However, this case was transferred in
December of 2021 and not stayed until March of 2022.
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